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                 EXHIBIT B
                  Case 1:19-cv-11861-MKV-JW Document 55-2 Filed 06/19/20 Page 2 of 15


Browning, Jack

From:                                       Bailey, Linda <lbailey@steptoe.com>
Sent:                                       Wednesday, June 17, 2020 12:39 PM
To:                                         david.bralow@firstlook.org; Michael, Charles
Cc:                                         John, Riley
Subject:                                    Broidy v. GRA
Attachments:                                Verizon Subpoena_Redacted-c2-c2.pdf; Verizon Confirmation_Redacted-c2-c2.pdf


David,

It was good to speak with you yesterday. As I explained in our conversation, we have mailed Verizon a letter explaining
and attaching the stay order and have spoken with them three times now via telephone to confirm they will not
produce. To resolve any possible confusion on the issue, we have now requested and received written confirmation
from Verizon acknowledging the stay and stating that they will not produce records until it is lifted. It is attached for
your records.

I have also attached the Verizon subpoena for your records. You mentioned that you were not certain which of your
clients’ numbers were subject to the subpoena. As you will see, due to privacy concerns, the numbers are redacted
from the attached subpoena because various other numbers unrelated to your clients are listed. I have, however,
identified the numbers associated with Mr. Grimm and/or The Intercept that appear on the subpoena:

     


As we discussed yesterday, we agree not to enforce this subpoena against your clients until we have provided notice of
the stay being lifted and ten days during which you may file a motion to quash.

I hope this answers your concerns. Please feel free to call me at any time if there is anything further we can do.

Best regards,
Linda

Linda C. Bailey
Of Counsel
lbailey@steptoe.com

Steptoe
+1 202 429 3907 direct Steptoe & Johnson LLP
+1 202 374 2744 mobile 1330 Connecticut Avenue, NW
+1 202 429 3902 fax    Washington, DC 20036
                       www.steptoe.com


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you are not the intended recipient, please do not read, copy, distribute, or use this information. If you have received this transmission in error, please
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Charles Michael
212 378 7604 direct
212 506 3950 fax
cmichael@steptoe.com

1114 Avenue of the Americas
New York, New York 10036
212 506 3900 main
www.steptoe.com




June 1, 2020

By Hand

Verizon Wireless Services, LLC
c/o C T Corporation System
28 Liberty St.
New York, New York 10005

Re:      Broidy et al. v. Global Risk Advisors LLC, et al., 19 Civ. 11861 (S.D.N.Y.);
         Subpoena to Verizon Wireless Services, LLC

Dear Sir or Madam:

       Our firm represents the plaintiffs in the above-captioned lawsuit. Enclosed please find a
subpoena under Rule 45 of the Federal Rules of Civil Procedure. You are required to respond
within 14 days of when the subpoena is served upon you.

       This subpoena seeks metadata, identifying information, and call and text information
associated with the following phone numbers:
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Verizon Wireless Services, LLC
June 1, 2020
Page 2




        The requests in the subpoena are tailored to categories of documents and information
recognized by courts to be discoverable and not protected by the Stored Communications Act, 18
U.S.C. §§ 2701-2712. The SCA protects contents of calls or text messages, and the subpoena
does not seek that information. It seeks only account activity and subscriber information. See id.
§ 2702(c)(6) (allowing disclosure to “any person” of “information pertaining to a subscriber to or
customer” so long as it does “not includ[e] the contents of communications”); Sines v. Kessler,
Case No. 18-mc-80080-JCS, 2018 WL 3730434, at *11 (N.D. Cal. Aug. 6, 2018) (“[T]o the
extent that Document Request 7 requests Doe’s account information, the subpoena does not
violate the SCA.”); Hawaii Regional Council of Carpenters v. Yoshimura, Civil No. 16-00198,
2017 WL 738554, at *4 n.6 (D. Haw. Feb. 17, 2017) (civil subpoena may seek non-content
information including “for example: date, time, originating and receiving telephone number,
originating cell site and sector, and duration for all calls”).

       If you have any questions, or would like to arrange electronic delivery of the material
requested, please feel free to contact me.

                                                     Sincerely,

                                                     /s/ Charles Michael

                                                     Charles Michael



Enclosures
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Southern District
                                                       __________ DistrictofofNew York
                                                                               __________
  Elliott Broidy and Broidy Capital Management, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 19 Civ. 11861
              Global Risk Advisors LLC, et al.                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                         Verizon Wireless Services, LLC

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Schedule A attached.



  Place: Steptoe & Johnson LLP c/o Charles Michael                                      Date and Time:
           1114 Avenue of the Americas                                                                       06/22/2020 9:00 am
           New York, NY 10036

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/01/2020

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiffs
Elliott Broidy and Broidy Capital Management, LLC                        , who issues or requests this subpoena, are:
Charles Michael, Steptoe & Johnson LLP,1114 Ave. of Americas, NY, NY 10036,cmichael@steptoe.com,(212)378-7604

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 19 Civ. 11861

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                            SCHEDULE A

                                            DEFINITIONS

       1.        Plaintiffs incorporate the definitions in Local Rule 26.3.

       2.        The definitions below apply to capitalized and uncapitalized instances of the

defined terms.

       3.        “Affiliate” means, with respect to a specified person or entity, any other person or

entity that directly, or indirectly through one or more intermediaries, controls or is controlled by,

or is under common control with, the person or entity specified.

       4.        “Communication” mean the transmittal of information (in the form of facts, ideas,

inquiries or otherwise) by any means, including, but not limited to, any meeting, conversation,

discussion, conference, correspondence, message, instant message, text message or other written

or oral transmission, exchange or transfer of information in any form between two or more

persons, including in person or by telephone, facsimile, telegraph, telex, letter, email or other

medium.

       5.        “Document” means and includes without limitation any printed, written, recorded,

typed, drawn, taped, electronic, electromagnetic, graphic, photographic or any other tangible

matter, documentary material from whatever source, however produced or reproduced, whether

sent or received or neither, whether originals, copies, drafts, translations or otherwise including

the original and any non-identical copy (whether different from the original because of notes

made on or attached to such copy or the presence of signatures indicating execution or

otherwise), including but not limited to any and all ESI, Communications, writings, reports, file

cover(s), correspondence, letters, opinions, notes, notations, papers, memoranda, minutes of

meetings, recordings or other memorials of any type of personal or telephone conversation,

meeting or conference, reports, studies, charts, analyses, statistical compilations, evaluations,
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estimates, diaries, calendars, desk pads, appointment books, transcripts and statements of account

that is or has been in your possession, control, or custody or of which you have knowledge.

       6.      “Electronically stored information” and ”ESI” should be defined to the fullest

extent permissible under the Federal Rules of Civil Procedure, and means any designated

documents or electronically stored information—including writings, drawings, graphs, charts,

photographs, sound recordings, images, and other data or data compilations—stored in any

medium from which information can be obtained either directly or, if necessary, after translation

by the responding party into a reasonably usable form.

       7.      “Relating to,” shall mean about, addressing, alluding to, analyzing, commenting

upon, comprising, concerning, in connection with, considering, constituting, containing,

defining, describing, determining, disclosing, discussing, embodying, evaluating, evidencing,

examining, explaining, regarding, in respect of, memorializing, mentioning, noting, pertaining to,

recording, reflecting, relevant to, respecting, responding to, setting forth, showing, stating,

studying, summarizing, supporting, or touching upon, either directly or indirectly, in whole or in

part, and should be given the broadest possible scope consistent with the Federal Rules of Civil

Procedure.

       8.       “Subject Phone Numbers” refers to the following phone numbers:




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        9.     “Request” refers to this subpoena.

        10.    “You” or “your” refers to Verizon Wireless Services, LLC and includes all of its

Affiliates.

                                          INSTRUCTIONS

        1.     This Request includes all documents in your possession, custody or control,

regardless of where such documents are located.

        2.     A copy of a document that varies in any way whatsoever from the original or

from any other copy of the document, whether by reason of handwritten or other notation or any

omission, shall constitute a separate document and must be produced, whether or not the original

of such document is within your possession, custody, or control.

        3.     All documents must be produced in their entirety, including all attachments and

enclosures, and in their original folder, binder or other cover or container. Whenever a document

or group of documents is removed from a file folder, binder, file drawer, file box, notebook, or

other cover or container, a copy of the label of such cover or other container must be attached to

the document or group of documents.

        4.     If you object to any portion of this Request, state with specificity the grounds for

each such objection and produce all documents and submit all answers responsive to the

remainder of the Request.




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       5.      If you claim privilege or immunity with respect to any document or information,

state the nature and basis of the privilege or other ground asserted as justification for withholding

such information in sufficient detail to permit the Court to adjudicate the validity of the claim.

This includes, at a minimum: (a) the date of the document or communication; (b) the author or

speaker; (c) the addressee(s) or person to whom the communication was directed; (d) all other

recipients or persons receiving the communication; (e) the type of document (letter, report, etc.)

or communication; (f) the general subject matter of the document or communication; and (g) the

specific privilege claimed.

       6.      All documents are to be produced as they are kept in the usual course of business

so that Plaintiffs can ascertain the files in which they were located, their relative order in such

files and how such files were maintained.

       7.      All documents responsive to this Request that are maintained in the usual course

of business in electronic format shall be produced in their native format along with software

necessary to interpret such files if such software is not readily available. All such documents

shall be accompanied by a listing of all file properties, commonly known as metadata,

concerning such documents, including all information concerning the date(s) and recipient(s) of

the document, the location and content of any attachment(s) to the document, and the location

and content of any information imbedded or annotated in the document.

       8.      Do not refuse to respond to any Request (or subpart of any Request) on the

ground that it is ambiguous, or that the definitions or instructions are ambiguous. Instead,

identify the language you believe is ambiguous, the interpretation of the ambiguous language

you believe is most reasonable, and respond using that interpretation.




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                                   DOCUMENTS REQUESTED

       1.     All Documents produced by Verizon Wireless Services, LLC in response to the

subpoenas served on You on May 1, 2018, May 16, 2018, June 6, 2018, June 26, 2017, July 6,

2018, July 20, 201, and July 27, 2018, in the case Broidy Capital Management LLC v. State of

Qatar, No. 18-cv-02421-JFW (C.D. Cal., filed Mar. 26, 2018).

       2.     Documents sufficient to identify the names and addresses of the subscriber(s) for

the Subject Phone Numbers from January 1, 2017, to the present, as well as all other phone

numbers assigned to each of those subscribers.

       3.     Documents sufficient to identify the IP address(es) assigned to each Subject

Phone Number, geographic tracking information, and cell tower usage, as well as IP addresses

used to send or receive calls or messages using VOIP services or “WiFi Calling” (including SMS

and MMS messaging) of the subscriber(s) for the Subject Phone Numbers or any other numbers

for the subscriber(s) of the Subject Phone Numbers from January 1, 2017, to the present.

       4.     Call logs or documents reflecting the telephone numbers called and received

(including the duration of the calls) concerning the use of the Subject Phone Numbers or any

other numbers for the subscriber(s) of the Subject Phone Numbers from January 1, 2017, to the

present.

       5.     Text message or SMS logs or MMS logs or documents reflecting records of

transmission of text or SMS messages or MMS messages sent and received concerning the use of

the Subject Phone Numbers or any other numbers for the subscriber(s) of the Subject Phone

Numbers from January 1, 2017, to the present.

       6.     Documents reflecting the length and history of service with You for the

subscriber(s) for the Subject Phone Numbers or any other numbers for the subscriber(s) of the

Subject Phone Numbers.


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       7.         Documents reflecting user and activity logs of the subscriber(s) for the Subject

Phone Numbers or any other numbers for the subscriber(s) of the Subject Phone Numbers from

January 1, 2017, to present.

       8.         Billing statements of the subscriber or subscribers for the Subject Phone Numbers

or any other numbers for the subscriber(s) of the Subject Phone Numbers from January 1, 2017,

to the present.

       9.         Registration information associated with each Subject Phone Number, including

the name(s) and address(es) associated with payments made on the account, as well as IP

addresses and dates and times of all logins to the customer’s online account.




                                                  A-6
